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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SAGEWORKS, INC.,                                     )
                                                     )       Case No. 1:17-cv-01483-LPS-CJB
                                                     )
               Plaintiff,                            )       JURY TRIAL DEMANDED
                                                     )
               v.                                    )
                                                     )
MOODY’S ANALYTICS, INC.,                             )
                                                     )
               Defendant.                            )
                                                     )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, through their

undersigned counsel, hereby stipulate that the above referenced action is hereby dismissed with

prejudice. The parties shall bear their own attorneys’ fees and costs.

Dated: April 20, 2018

Respectfully submitted,

 BAIRD MANDALAS BROCKSTEDT, LLC                    MORGAN, LEWIS & BOCKIUS LLP



 /s/ Kevin A. Guerke                               /s/ Amy M. Dudash


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